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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


TAMMY MCCOY,

                                                                2:21-CV-00389-CCW
                Plaintiff,

        v.

PAN AMERICAN GROUP,

                Defendant.


                                             ORDER

       Given that motions pursuant to Federal Rule of Civil Procedure 12(b) are discouraged if

the pleading defect is curable by amendment, IT HEREBY IS ORDERED that the parties must

meet and confer before the filing of such a motion to determine whether any pleading defects are

curable by amendment, thereby obviating part or all of the motion. The duty to meet and confer

extends to parties appearing pro se. A motion to dismiss must be accompanied by a certificate

stating that the moving party has made a good faith effort to confer with the nonmovant(s) to

determine whether the identified pleading deficiencies may be cured by amendment.

       Motions to dismiss that do not contain the required certification will be summarily denied.

Furthermore, a non-moving party’s non-compliance with this requirement, including failure to

timely engage in the meet-and-confer process, may result in the assessment of monetary and/or

nonmonetary sanctions. Those sanctions may include, but are not limited to, an assessment of

attorneys’ fees and costs associated with the filing of the motion to dismiss, and/or a denial of the

non-movant’s subsequent request for leave to amend.
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       IT IS FURTHER ORDERED that: (1) as soon as is practicable, plaintiff(s) promptly shall

serve a copy of this Order upon defendant(s); (2) all counsel and unrepresented parties must read,

know and understand the Local Rules of this Court (see web page at:

https://www.pawd.uscourts.gov/court-info/local-rules-and-orders/local-rules); and (3) all counsel

and unrepresented parties must familiarize themselves with the undersigned’s Practices and

Procedures, (see web page at

https://www.pawd.uscourts.gov/sites/pawd/files/Wiegand_Interim_Practices_Oct_2020.pdf), and

they will be responsible for complying with the same.

       DATED this 25th day of March, 2021.



                                             BY THE COURT:



                                             /s/ Christy Criswell Wiegand
                                             CHRISTY CRISWELL WIEGAND
                                             United States District Judge




cc (via ECF email notification):

All Counsel of Record




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